Case 2:05-cr-20157-.]PI\/| Document 16 Filed 07/13/05 Page 1 of 2 Page|D 19

Fu,so )qt@< no
05 JUL l3 FH 5= 05

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western Division

 

UNITED sTATEs oF AMERICA CLEF|riw i';` <
W*":\; Gl: l , §`l

-vs- Case No. 2:05cr20157-Ml

DANIEL cHENnY

 

ORDER OF DETENTION PEND|NG TR|AL
FlNDlNGS
In accordance with the Bail Reforrn Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release will reasonably assure the
safety of any other person and the community.

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention heating

DlRECT|ONS REGARD|NG DETENT|ON

DANIEL CHENEY is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. DANIEL CHENEY shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Com't of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceedingl

Date: July 13,2005 /<[l{@/;a# /<- /LW

DIANE K. vascoyo
UNITED STATES MAGISTRATE IUDGE

Thfs document entered on the docket sheet `n compliance
W:i'ri Role !.~~'1 :ir:-'l»'or 32(b) FHCrP on _Mz’/£'Q§ /;

   

UNITED sTATE DRISTIC COUR - WTERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:05-CR-20157 Was distributed by faX, rnail, or direct printing on
July 14, 2005 to the parties listed.

 

 

Williani C. Anderson
ANDERSON LAW FIRM
142 North Third St.
l\/lemphis7 TN 38103

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

